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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

STEPHEN THAXTON and PATRICIA
THAXTON, individually and on behalf of
others similarly situated,

                Plaintiffs,
                                                    Case No.: 1:20-CV-00941-ELR
v.

COLLINS ASSET GROUP, LLC, et. al

                Defendants.




                       JOINT MOTION TO REOPEN CASE

      Plaintiffs Stephen Thaxton, Patricia Thaxton and Defendant Collins Asset

Group, LLC file this motion and further state as follows:

      1.       As the Court is aware, the parties have been engaged in settlement

discussions over the last two months and reached a class action settlement in

principle. In the coming days, the parties anticipate filing a motion for preliminary

approval and other relevant documents related to the proposed settlement.

      2.       Also pending before this Court is the related interpleader action, Collins

Asset Group, LLC v. Diversified Financing, LLC, et al., Case No. 1:20-CV-02818-



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ELR (“Interpleader Action”), which names most of the investors who are also

putative class members in this Thaxton class action case.

      3.       On November 4, 2020, Collins Asset Group filed a notice in the

Interpleader Action informing the Court of the class action settlement and requesting

the Court to extend the stay in the Interpleader Action.

      4.       Earlier today, the Court entered Orders in this case as well as the related

Interpleader Action administratively closing both cases. In each Order, however, the

Court noted that “administrative closure will not prejudice the rights of any party to

this litigation. A party need only file a motion to reopen the case if they so choose.”

      5.       The parties hereby request that this Court reopen this case so that the

parties can file the documents related to the proposed class settlement in the coming

days, including but not limited to the motion for preliminary approval and other

related pleadings.

      6.       The parties also request that this Court reopen the Interpleader Action

and stay that case pending final approval of the class action settlement as the

settlement requires certain actions in the Interpleader Action.

      Respectfully submitted this 5th day of November 2020.

      /s/Jason R. Doss_____                       /s/ Jonathan Robbin_____
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Counsel for
Stephen and Patricia Thaxton




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      CERTIFICATE OF COUNSEL REGARDING FONT SIZE

      Counsel certifies that the foregoing has been prepared using Times New

Roman font size 14 in accordance with Local Rules 5.1(B)(3) and 7.1(D).

      This 5th day of November 2020.

                                             s/ Jason R. Doss____
                                              Jason R. Doss




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                        CERTIFICATE OF SERVICE

      I hereby certify that on this 5th day of November 2020, a copy of the

foregoing has been filed with the Clerk of Court and served upon all parties and

counsel of record using the CM/ECF system.

                                                 s/ Jason R. Doss__________
                                                 Jason R. Doss
                                                 Georgia Bar No. 227117




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